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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No. 1:05-cr-18

v.                                                           HON. JANET T. NEFF

ANTHONY ANDERSON,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Anthony Anderson has filed a motion for modification or reduction of sentence

(Dkt 336) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       However, the defendant is ineligible for consideration of modification of sentence (Dkt 339),

because the guideline range was determined based on the defendant’s status as a Career Offender.

Counsel for defendant has filed a response (Dkt 342) to the report of eligibility and preserves this

issue for future consideration should the law change.
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       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 336) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




DATED: December 15, 2014                          /s/ Janet T. Neff
                                                 JANET T. NEFF
                                                 United States District Judge




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